 Case 2:09-cr-00863-SRC      Document 46      Filed 04/15/10    Page 1 of 7 PageID: 279



                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                   Hon.    Stanley R,      Chesler

                                            Crim.    No.   09-863    (SRC)

 MICHAEL C.     SCIARRA,    et al.          ORDER


               This matter having come before the Court on the joint

application of Paul J,          Fishman,   United States Attorney for the

District of New Jersey          (by Leslie Faye Schwartz,           Assistant U.S.

Attorney),     and defendants Michael C.           Sciarra     (by Edmund DeNoia,

Esq.),    Peter Ventricelli       (by Arthur Abrams,         Esqj,   Michael A.

Sciarra    (by Anthony J.       Pope,   Esq.),   and Mark Ventricelli         (by

Gerald D.     Miller,   Esq.)    for an order declaring this matter to be

a complex case pursuant to Title 18,               United States Code,        Section

3161(h) (7) (B) (ii);      and the defendants being aware that absent

such a finding that they would have a right to be right to be

tried within 70 days of the date of their first appearance
                                                           before

a judicial officer in this district in connection with this

matter pursuant     to Title 18 of the United States Code,               Section

3161(c) (1),    and the charges being the result of a lengthy

investigation and the defendants needing sufficient time
                                                         to

review extensive discovery and to investigate the charge
                                                        s and

file motions     in this case;       and Paul J.    Fishman,     United States

Attorney for the District of New Jersey              (Leslie Faye Schwartz,

Assistant U.S.     Attorney,     appearing)      having concurred in the

assertion that this matter is complex as defined in the
                                                        statute;
 Case 2:09-cr-00863-SRC   Document 46   Filed 04/15/10   Page 2 of 7 PageID: 280



 and the Court having found that an order granting a continuance

 of   the proceedings in the above-captioned matter should be

 entered,   and for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

 be continued for the     following reasons:

             1,    This case involves allegations of extortion that

occurred over several years.

             2.    The discovery in this case is significant,         in that

it includes,      among other things,   approximately seventy-five

compact discs and cassette tapes,       containing hundreds of hours of

consensually recorded conversations.

            3.    The defendants and their counsel need additional

time to review the extensive discovery in this matter.

            4.    In light of the serious allegations,        the defendants

need additional time to investigate the charges.

            5.    In light of the discovery and depending upon the

results of their respective investigations,         each defendant needs

additional time to determine whether or not to file motion
                                                           s             in
this matter and what motions should be filed.

            6.    In light of these findings,     and given the nature of

the case and its complexity,     it is unreasonable to expect

adequate preparation for pretrial proceedings or the trial itself

within the time limits established under the Speedy Trial
                                                          Act.

            7.    The defendants consent to the aforementioned

continuance.
 Case 2:09-cr-00863-SRC      Document 46        Filed 04/15/10    Page 3 of 7 PageID: 281



               8.     The grant of a continuance will enable counsel                    for

 the defendants to adequately review the discovery,                    prepare

motions,      and proceed with trial

               9.     Pursuant to Title 18,        United States Code,          Section

 3161(h) (8),       the ends of   justice served by granting the

continuance outweigh the best interests of the public and the

defendants in a speedy trial.

              WHEREFORE,     it   is on this       /cday of April 2010,

              ORDERED that this matter is hereby designated a complex

case;

              IT IS FURTHER ORDERED that the proceedings in the

above-captioned matter are continued from April 15,                     2010;

              IT IS FURTHER ORDERED that the period between April 15,

2010 and July 7,        2010 shall be excludable in computing time under

the Speedy Trial Act of           1974;   and

              IT IS FURTHER ORDERED that 1)            the defendants shall file

their pretrial motions no later than April 19,                     2010,   2>   the

government shall file its response no later than June 2,
                                                                                2010,    3)

the defendants shall file their reply,                if any,    no later than June

23,   2010;   and 4)    oral argument on the motions             is scheduled for

July 7,   2010 at 11:00 a.m.




                                            HON. STANLEY R. CHE
                                            United States Distr..ict Judge
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Case 2:09-cr-00863-SRC   Document 46   Filed 04/15/10   Page 6 of 7 PageID: 284




Consented and Agreed to form and entry by:



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Edmund DeNoia, Esq
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J*ope,Esq.
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Counsel for Mark Ventricelli
Case 2:09-cr-00863-SRC   Document 46   Filed 04/15/10   Page 7 of 7 PageID: 285



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 Assistant U.S. Attorney



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 Anthony J. Pope, Esq.
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